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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                     CASE NO: 4:24CR3019
       vs.

FRANTZ GUSTAVE KOLBJORNSEN,                              DETENTION ORDER
             Defendant.



      The defendant is charged with a felony involving a minor victim. On the
government's motion, the court afforded the defendant an opportunity for a
detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f). The court
concludes the defendant must be detained.

      There is a rebuttable presumption that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance at court
proceedings and the safety of the community because there is probable cause to
believe the defendant committed a drug crime under the Controlled Substances
Act (21 U.S.C. § 801 et seq.), for which the defendant could be required to serve
ten or more years in prison. The defendant has not rebutted this presumption.

      Based on the information of record, the court finds by a preponderance of
the evidence that the defendant's release would pose a risk of nonappearance at
court proceedings, and by clear and convincing evidence that the defendant's
release would pose a risk of harm to the public .

      Specifically, the court finds the defendant has a criminal history of violating
the law and court orders; has a history of harming or threatening harm to others;
has failed to appear for court proceedings in the past; and presented no evidence
opposing the presumption of detention.
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      Conditions which restrict Defendant’s travel, personal contacts, and
possession of drugs, alcohol, and/or firearms; require reporting, education,
employment, or treatment; or monitor Defendant’s movements or conduct; or any
combination of these conditions or others currently proposed or available (see 18
U.S.C. § 3142(c)), will not sufficiently ameliorate the risks posed if the defendant
is released.

                         Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to
consult privately with defense counsel. On order of the United States Court or on
request of an attorney for the Government, the person in charge of the corrections
facility must deliver the defendant to the United States marshal for a court
appearance.

      Dated January 25, 2024.

                                             BY THE COURT:

                                             s/ Jacqueline M. DeLuca
                                             United States Magistrate Judge
